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                            UNITED STATES COURT OF APPEALS
                                 FOR THE SIXTH CIRCUIT
                                100 EAST FIFTH STREET, ROOM 540
   Deborah S. Hunt             POTTER STEWART U.S. COURTHOUSE                 Tel. (513) 564-7000
       Clerk                       CINCINNATI, OHIO 45202-3988               www.ca6.uscourts.gov




                                                 Filed: June 04, 2014




Ms. Vanessa L. Armstrong
Western District of Kentucky at Louisville
601 W. Broadway
Suite 106 Gene Snyder U.S. Courthouse
Louisville, KY 40202-2249

                     Re: Case No. 13-5956/13-5979, Gregory Bickley v. Dish Network LLC, et al
                         Originating Case No. : 3:10-cv-00678

Dear Clerk,

   Enclosed is a copy of the mandate filed in this case.

                                                 Sincerely yours,

                                                 s/Louise Schwarber
                                                 Case Manager
                                                 Direct Dial No. 513-564-7015

cc: Mr. Shea W. Conley
    Mr. Matthew T. Lockaby
    Ms. Lauren Desiree Lunsford
    Mr. Zachary LeRoy Taylor

Enclosure
Case 3:10-cv-00678-JGH-DW Document 76 Filed 06/04/14 Page 2 of 2 PageID #: 816




                            UNITED STATES COURT OF APPEALS
                                 FOR THE SIXTH CIRCUIT

                                           ________________

                                              No: 13-5956/13-5979
                                           ________________

                                                                      Filed: June 04, 2014

GREGORY BICKLEY

                Plaintiff - Appellant Cross-Appellee

v.

DISH NETWORK LLC

                Defendant - Appellee Cross-Appellant

EQUIFAX INFORMATION SERVICES, LLC

                Defendant



                                             MANDATE

     Pursuant to the court's disposition that was filed 05/13/2014 the mandate for this case hereby

issues today.



COSTS: None
